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 5
     Attorn~s for Plaintiff/Counter-Defendant
 6   JANE DOE
 7
                            UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
 8

 9   JANE DOE, an individual,                Case No.    L: 1':I-cv-lOU5-AH-KS
          Plaintiff,
10                                           PLAINTIFF'S OPPOSITION TO
           v.                                CALIFORNIA INSTITUTE OF
                                             TECHNOLOGY'S REQUEST FOR
12                                           INCORPORATION BY REFERENCE
     CALIFORNIA INSTITUTE OF
13   TECHNOLOGY, a California
14   corporation;                            [Filed concurrently with Plaintiff's
     JOHN DOE, an individual; KEVIN          Opposition to Defendants' Motion to
15   GILMARTIN, an individual; and DOES      Dismiss Plaintiff's Second Amended
16   1 through 100, inclusive,               Complaint]
                       Defendants.
17
     JOHN DOE, an individual                 Judge:        Hon. Andre Birotte Jr.
18                Counterclaimant,           Date:         May 10,2019
                                             Time:         10:00 a.m.
19
           v.                                Location:     Courtroom: 7B
20

21   JANE DOE, an individual,
               Counter-Defendant.
22
     JOHN DOE, an individual
23              Cross Claimant
24
           v.
25

26   CALIFORNIA INSTITUTE OF
     TECHNOLOGY, a California
27
     corporation,
28                 Cross Defendant.

           PLAINTIFF'S OPPOSITION TO DEFENDANT'S REQUEST FOR
     INCORPORATION BY REFERENCE IN SUPPORT OF PLAINTIFF'S OPPOSITION
                   TO DEFENDANT'S MOTION TO DISMISS
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            PLEASE TAKE NOTICE that Plaintiff JANE DOE ("Plaintiff') hereby
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     respectfully requests that the Court disregard, strike, and not consider in ruling on
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     Defendants CALIFORNIA INSTITUTE OF TECHNOLOGY ("Cal tech") and KEVIN
 4
     GILMARTIN ("Gilmartin") (together "Defendants") Motion to Dismiss ("Motion") the
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     allegations set forth at Paragraph 6 ofthe Declaration of Kathrynne Seiden and "Exhibit
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     A" thereto.
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            In support of their Motion, Defendants impermissibly ask the Court to consider
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     the subject two letters dated June 26, 2018 attached as "Exhibit A" to the Declaration of
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     Kathrynne Seiden ("Letters"). However, it is established that the Court's inquiry into
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     whether a claim may survive a 12(b)(6) motion to dismiss is limited to the allegations
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     in the complaint. Lazy Y. Ranch LTD v. Behrens, Inc, (9th Cil'. 2008) 546 F.3d 580,
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     587. While it is true that incorporation by reference is permitted under rare
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     circumstances, there is no basis to do so in this case. Even Defendants' own cited cases
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     demonstrate that the Letters fall outside of the scope of the limited application of the
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     incorporation by reference doctrine. Defendants rely most heavily on Khoja v. Orexigen
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     Theraputics, Inc., (9th Cil'. 2018) 899 F.3d 988, in which the court defines
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     incorporation by reference as a judicially created doctrine that treats certain documents
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     as though they are part of the complaint itself. Khoja at 1002. The Khoja court goes on
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     to discuss its application of the doctrine, citing its own language to establish the
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     following: "[W]e said that a defendant may seek to incorporate a document into the
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     complaint 'if the plaintiff refers extensively to the document or the document forms
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     the basis of the plaintiff's claim.' (citation omitted) How 'extensively' must the
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     complaint refer to the document? This court has held that 'the mere mention of
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     the existence of a document is insufficient to incorporate the contents of a
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     document'''Id. (emphasis added.) In Branch v. Tunnell, (9th Cil'. 1993) 14 F.3d 449,
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     453-54, the court similarly held that incorporation by reference would only be justified
27
     in situations where the contents of a document are specifically alleged in a complaint.
28
        Anderson v. Clow (In re Stac Elec. Sees. fitig., (9th Cil'. 1996) 89 F.3d 1399 is
           PLAINTIFF'S OPPOSITION TO DEFENDANT'S REQUEST FOR
     INCORPORATION BY REFERENCE IN SUPPORT OF PLAINTIFF'S OPPOSITION
                   TO DEFENDANT'S MOTION TO DISMISS
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 I   easily distinguishable from the present case because the Anderson plaintiff's entire
 2   complaint is based on the contents of a document, which differs sharply from the basis
 3   of Plaintiff's allegations.
 4         It is apparent from precedent that a mention of the existence of a document is not
 5   enough to justifY incorporation by reference. In her entire 25-page Second Amended
 6   Complaint, ("SAC") Plaintiff mentioned the existence of only one of the Letters in a
 7   single paragraph:    ~34.     This clearly does not meet the Khoja court's articulated
 8   threshold for incorporation by reference. Defendants' quotations, which they claim to
 9   be references to the contents of the Letters, actually are not quotations from the Letters.
10   If Defendants had faithfully compared what Plaintiff alleged in her SAC to the
II   language in the Letters, this Request for Incorporation by Reference would never have
12   been filed. In claiming that the Letters say more than what they do, Defendants
13   improperly attempt to transform their 12(b)(6) into a Motion for Summary Judgment.
14   Plaintiff does not have the burden to prove her case on a 12(b)(6) motion, which merely
15   tests the sufficiency of the pleadings. Lazy at 857.
16         The Khoja court further elucidates its construction of the incorporation by
17   reference doctrine, saying that "if a document merely creates a defense to the well-pled
18   allegations in the complaint, then that document did not necessarily form the basis of
19   the complaint" (Khoja at 1002) and "[a]lthough the incorporation-by-reference doctrine
20   is designed to prevent artful pleading by plaintiffs, the doctrine is not a tool for
21   defendants to short-circuit the resolution of a well-pleaded claim." (Khoja at 1003)
22   (emphasis added.) It is clear that Defendants may not use the incorporation by reference
23   doctrine in the manner they attempt to do so before this Court.
24         Therefore, incorporation by reference of the purported June 26, 2018 Letters
25   based on a single reference to the Letters in the SAC ~ 34 is impermissible. The law on
26   this matter mandates that a plaintiff specifically reference the contents of a document
27   before the document may be incorporated by reference. Moreover, consideration of
28   these Letters would improperly transform Defendants' 12(b)( 6) motion into a Motion
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           PLAINTIFF'S OPPOSITION TO DEFENDANT'S REQUEST FOR
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 I   for Summary Judgment.
 2        Therefore, Plaintiff respectfully request that Defendants' Request be denied.
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 6   DATED: April 16, 2019                   THE COCHRAN FIRM - CALIFORNIA
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                                             Attorneys for Plaintiff/Counter-Defendant
II                                           Jane Doe
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           PLAINTIFF'S OPPOSITION TO DEFENDANT'S REQUEST FOR
     INCORPORATION BY REFERENCE IN SUPPORT OF PLAINTIFF'S OPPOSITION
                   TO DEFENDANT'S MOTION TO DISMISS
